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Exhibit 2
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From: Cross, David D. <DCrass@mofo.com>

Sent: Thursday, August 27, 2020 8:29 PM

To: Carey Miller; Josh Belinfante

Cc: Robert McGuire; Bruce Brown; Jonathan Crumly; Conaway, Jenna B.; Miriyala, Arvind S.;

cichter@ichterdavis.com; Hedgecock, Lyle F.; Bryan Tyson; Vincent Russo; Alexander
Denton; kaye.burwell@fultoncountyga.gov, cheryl.ringer@fultoncountyga.gov;
david.lowman @fultoncountyga.gov

Subject: RE: State Defendants’ Expedited Document Production

Carey -

You guys unilaterally filed a discovery motion less than one business day after serving document requests without a
meet and confer, and insisted that was proper. We’ve asked only for an email that provides the information needed to
evaluate the privilege claim for a document you asserted privilege over yesterday. Tomorrow will be two business days
after the assertion and after we requested the required disclosure. With respect, either you provide the required
information by tomorrow morning and we confer tomorrow morning, or we'll alert the court that you declined to do so
and proceed with an appropriate filing. There’s no reason to delay this further. Please let us know how you’d like to
proceed.

Thanks.
DC

From: Carey Miller <carey.miller@robbinsfirm.com>

Date: Thursday, Aug 27, 2020, 8:23 PM

To: Cross, David D. <DCross@mofo.com>, Josh Belinfante <Josh.Belinfante@robbinsfirm.com>

Cc: Robert McGuire <ram@lawram.com>, Bruce Brown <bbrown@brucepbrownlaw.com>, Jonathan Crumly
<jcrumly@taylorenglish.com>, Conaway, Jenna B. <JConaway@mofo.com>, Miriyala, Arvind S. <AMiriyala@mofo.com>,
cichter@ichterdavis.com <cichter @ichterdavis.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Bryan Tyson
<btyson@taylorenglish.com>, Vincent Russo <vrusso@robbinsfirm.com>, Alexander Denton

<Alexander.Denton@robbinsfirm.com>, kaye.burwell@fultoncountyga.gov <kaye.burwell@fultoncountyga.gov>,
cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, david.lowman@fultoncountyga.gov

<david.lowman@fultoncountyga.gov>

Subject: RE: State Defendants' Expedited Document Production

External Email

 

 

David,

While I’m not sure Rule 26 provides for the detail your bullet points insist, we will provide a formal privilege log after the
completion of our expedited review and production. | would suggest any conference occur after that point. As for
tomorrow morning, you may recall we owe your co-plaintiffs a production and the Court a response to Coalition’s
second motion for preliminary injunction. In light of Robert’s email to the Court this morning which, at best,
misrepresented some central facts, we will be focusing on getting your expedited discovery to you and responding to
Coalition’s brief tomorrow, in a hope to avoid an unnecessary repetition of this morning.

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Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 3 of 15

In the meantime, | don’t recall seeing a response to Bryan’s email regarding the joint discovery statement you all
demanded we complete with about four hours’ notice. Do you intend to move forward on that issue? If not, we would
appreciate no longer imposing unreasonable artificial deadlines on each other.

Please also note, | have removed Marilyn from this email.

Carey A. Miller | 404.856.3286| ROBBINS

From: Cross, David D. [mailto:DCross@mofo.com]

Sent: Thursday, August 27, 2020 8:10 PM

To: Josh Belinfante <Josh.Belinfante@robbinsfirm.com>

Cc: Carey Miller <carey.miller@robbinsfirm.com>; Robert McGuire <ram@lawram.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway, Jenna B.
<JConaway@mofo.com>; Miriyala, Arvind S. <AMiriyala@mofo.com>; cichter@ichterdavis.com; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>; Vincent Russo <vrusso@robbinsfirm.com>;
Alexander Denton <Alexander.Denton@robbinsfirm.com>; kaye. burwell@fultoncountyga.gov;
cheryl.ringer@fultoncountyga.gov; david.lowman@fultoncountyga.gov; Marilyn Marks <Marilyn@uscgg.org>
Subject: RE: State Defendants' Expedited Document Production

Sure. We need at least the following information to evaluate the claim:

- author of the document (not just the company)

- date it was created

- each recipient of the document: name, employer, and title

- date each recipient received it

- the litigation for which it was prepared

- description of the substance of the document

- explanation of how it constitutes work product given it was prepared by a third-party consultant whose prior reports
already have been produced as non-privileged

Thanks.
DC

From: Josh Belinfante <Josh.Belinfante@robbinsfirm.com>

Date: Thursday, Aug 27, 2020, 8:04 PM

To: Cross, David D. <DCross@mofo.com>

Ce: Carey Miller <carey.miller@robbinsfirm.com>, Robert McGuire <ram@lawram.com>, Bruce Brown
<bbrown@brucepbrownlaw.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Conaway, Jenna B.
<JConaway@mofo.com>, Miriyala, Arvind S. <AMiriyala@mofo.com>, cichter@ichterdavis.com <cichter@ichterdavis.com>,
Hedgecock, Lyle F. <LHedgecock@mofo.com>, Bryan Tyson <btyson@taylorenglish.com>, Vincent Russo
<vrusso@robbinsfirm.com>, Alexander Denton <Alexander.Denton@robbinsfirm.com>, kaye.burwell@fultoncountyga.gov
<kaye.burwell@fultoncountyga.gov>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>,
david.lowman@fultoncountyga.gov <david.lowman@fultoncountyga.gov>, Marilyn Marks <Marilyn@uscgg.org>

Subject: Re: State Defendants’ Expedited Document Production

 

 

David:
Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 4 of 15

So we can have a productive conversation, can you shed a little more light on your statement that Carey's email does
not comply with the Federal Rule?

Thanks,
JB

Sent from my iPhone
On Aug 27, 2020, at 7:59 PM, Cross, David D. <DCross@mofo.com> wrote:

Carey -

Please provide a time to meet and confer tomorrow morning re this issue. Your email doesn’t comply
with R26 and we intend to seek in camera review if we don’t receive an appropriate explanation of the
privilege assertion by the morning.

. Thanks.
DC

From: Carey Miller <carey.miller@robbinsfirm.com>

Date: Thursday, Aug 27, 2020, 6:45 PM

To: Cross, David D. <DCross@mofo.com>, Robert McGuire <ram@lawram.com>, Bruce Brown
<bbrown@brucepbrownlaw.com>

Cc: Jonathan Crumly <jcrumly@taylorenglish.com>, Conaway, Jenna B. <JConaway@mofo.com>, Miriyala,

Arvind S. <AMiriyala@mofo.com>, cichter@ichterdavis.com <cichter@ichterdavis.com>, Hedgecock, Lyle F.
<LHedgecock@mofo.com>, Bryan Tyson <btyson@taylorenglish.com>, Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>, Vincent Russo <vrusso@robbinsfirm.com>, Alexander Denton
<Alexander.Denton@robbinsfirm.com>, kaye.burwell@fultoncountyga.gov
<kaye.burwell@fultoncountyga.gov>, cheryl.ringer@fultoncountyga.gov
<cheryl.ringer@fultoncountyga.gov>, david.lowman@fultoncountyga.gov
<david.lowman@fultoncountyga.gov>, Marilyn Marks <Marilyn@USCGG.org>

Subject: RE: State Defendants’ Expedited Document Production

External Email

 

David,

Apologies as a lot of email traffic here. The communication being withheld is a report concerning BMDs
created by Fortalice and undertaken in preparation for active litigation at the direction of Ryan
Germany, the General Counsel for the SOS. Mr. Germany was operating under the instruction of this
law firm and the Taylor English law firm in our capacities as counsel for the State Defendants. The
document is protected by the attorney work product doctrine.

Have a good evening.

Carey A. Miller | 404.856.3286 |
Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 5 of 15

<image001.jpg>

From: Cross, David D. [mailto:DCross@mofo.com]
Sent: Thursday, August 27, 2020 4:26 PM

To: Carey Miller <carey.miller@robbinsfirm.com>; Robert McGuire <ram@lawram.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>

Cc: Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway, Jenna B. <JConaway@mofo.com>:
Miriyala, Arvind S. <AMiriyala@mofo.com>; cichter@ichterdavis.com; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Vincent Russo <vrusso@robbinsfirm.com>; Alexander Denton
<Alexander.Denton@robbinstirm.com>; kaye.burwell@fultoncountyga.gov;

cheryl ringer@fultoncountyga.gov; david. lowman@fultoncountyga.gov; Ma rilyn Marks

<Marilyn@USCGG.org>

Subject: RE: State Defendants' Expedited Document Production

| didn’t see a response to my email about the document withheld as privileged. Sorry if | missed it. When
are we getting the information required under R26? Did you provide that yet? I’ve not seen it.

From: Carey Miller <carey.miller@robbinsfirm.com>

Date: Thursday, Aug 27, 2020, 2:50 PM

To: Robert McGuire <ram@lawram.com>, Cross, David D. <DCross@mofo.com>, Bruce Brown
<bbrown@brucepbrownlaw.com>

Ce: Jonathan Crumly <jcrumly@taylorenglish.com>, Conaway, Jenna B. <JConaway@mofo.com>, Miriyala,

Arvind S. <AMiriyala@mofo.com>, cichter@ichterdavis.com <cichter@ichterdavis.com>, Hedgecock, Lyle F.
<LHedgecock@mofo.com>, Bryan Tyson <btyson@taylorenglish.com>, Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>, Vincent Russo <vrusso@robbinsfirm.com>, Alexander Denton
<Alexander.Denton@robbinsfirm.com>, kaye.burwell@fultoncountyga.gov
<kaye.burwell@fultoncountyga.gov>, cheryl.ringer@fultoncountyga.gov
<cheryl.ringer@fultoncountyga.gov>, david.lowman@fultoncountyga.gov
<david.lowman@fultoncountyga.gov>, Marilyn Marks <Marilyn@USCGG.org>

Subject: RE: State Defendants’ Expedited Document Production

 

 

External Email

 

Yes, Rob there are only two productions. | was a bit confused by your email to the Court on that front.

Carey A. Miller |404.856.3286|
<image001.jpg>

From: Robert McGuire [mailto:ram@lawram.com]
Sent: Thursday, August 27, 2020 2:50 PM

To: Carey Miller <carey.miller@robbinstirm.com>; Cross, David D. <DCross@mofo.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>
Ce: Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway, Jenna B. <JConaway@mofo.com>;

4
Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 6 of 15

Miriyala, Arvind S. <AMiriyala@mofo.com>; cichter@ichterdavis.com; Hedgecock, Lyle F.

<LHedgecock@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Vincent Russo <vrusso@robbinsfirm.com>; Alexander Denton

<Alexander.Denton@robbinsfirm.com>; kaye.burwell@fultoncountyga.gov;
cheryl.ringer@fultoncountyga.gov; david.lowman@fultoncountyga.gov; Marilyn Marks

<Marilyn@USCGG.org>
Subject: RE: State Defendants’ Expedited Document Production

From External Sender

 

Carey,

So we can ensure we are aware of everything the State Defendants have produced
in response to both Plaintiffs’ groups’ expedited discovery requests, can you please
confirm there are two productions only — 006 and 007?

Is there anything else?
Thanks.

Best,
Robert McGuire

ROBERT A. MCGUIRE, Ill **® NOTE NEW CONTACT DETAILS BELOW ***
SHAREHOLDER | THE ROBERT MCGUIRE LAW FiRM

1624 MARKET ST STE 226 #86685, DENVER, CO 80202-2523 | 113 CHERRY ST #86485, SEATTLE, WA 98104-
2205

E: ram@lawram.com |T/F: 720.420.1395 |T/F: 253.267.8530 | www.lawram.com

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are not the intended recipient, please notify the sender by reply and delete the message from your system.
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From: Carey Miller <carey.miller@robbinstirm.com>

Sent: Thursday, August 27, 2020 9:49 AM

To: Robert McGuire <ram@lawram.com>; Cross, David D. <DCross@mofo.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>

Cc: Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway, Jenna B. <JConaway@mofo.com>;
Miriyala, Arvind S. <AMiriyala@mofo.com>; cichter@ichterdavis.com; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Vincent Russo <vrusso@robbinsfirm.com>; Alexander Denton
<Alexander.Denton@robbinsfirm.com>; kaye. burwell@fultoncountyga.gov;
cheryl.ringer@fultoncountyga.gov; david. lowman@fultoncountyga.gov

Subject: RE: State Defendants’ Expedited Document Production

Robert, | apparently misspoke as the 007 production was .38 gb on just the image files. The total
production size for 007 (images, extracted text, natives and load files) is 2.2 GB Unzipped, 1.9 GB zipped
(there are a handful of video files in here which inflate the size); 006 is 3.37 GB Unzipped, 2.59 GB
zipped.

Link for 007 is below, you will need to use carey.miller@robbinsfirm.com as the email to log in:
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Follow the link below to download your transport data.
Your password: 2dALdh;“FpKx
Your password will expire on: 10/31/2020

Download link:
https://rellswp.istmanagement.com?JHkV4kIwO8NVvJy6lOFdtwJOgP%2bIKvYRO60aVmsYKtr7aGOppil8L
cejyCWkZSA%2fOs7c%2bGZy5mc%3d

Carey A. Miller | 404.856.3286 |
<image001.jpg>

From: Robert McGuire [mailto:ram@lawram.com
Sent: Thursday, August 27, 2020 12:31 PM

To: Carey Miller <carey.miller@robbinsfirm.com>; Cross, David D. <DCross@mofo.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>

Cc: Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway, Jenna B. <JConaway@mofo.com>;

Miriyala, Arvind S. <AMiriyala@mofo.com>; cichter@ichterdavis.com; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Vincent Russo <vrusso@robbinsfirm.com>; Alexander Denton
<Alexander.Denton@robbinsfirm.com>; kaye.burwell@fultoncountyga.gov;

cheryl ringer@fultoncountyga.gov; david.lowman@fultoncountyga.gov

Subject: RE: State Defendants' Expedited Document Production

 

From External Sender

 

Carey, please send us (Coalition Plaintiffs) this smaller link as well. Thank you.

Best,
Robert McGuire

ROBERT A. MCGUIRE, Ill ***® NOTE NEW CONTACT DETAILS BELOW ***
SHAREHOLDER | THE ROBERT MCGUIRE LAW FIRM

1624 MARKET ST STE 226 #86685, DENVER, CO 80202-2523 | 113 CHERRY ST #86485, SEATTLE, WA 98104-
2205

E: ram@lawram.com |1/F: 720.420.1395 |1/F: 253.267.8530 | www.lawram.com

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are not the intended recipient, please notify the sender by reply and delete the message from your system.
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From: Carey Miller <carey.miller@robbinsfirm.com>

Sent: Thursday, August 27, 2020 8:53 AM

To: Cross, David D. <DCross@mofo.com>; Bruce Brown <bbrown@brucepbrownlaw.com>

Ce: Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway, Jenna B. <JConaway@mofo.com>;
Miriyala, Arvind S. <AMiriyala@mofo.com>; Robert McGuire <ram@lawram.com>;
cichter@ichterdavis.com; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Bryan Tyson
<btyson@taylorenglish.com>; Josh Belinfante <Josh.Belinfante@robbinsfirm.com>; Vincent Russo
<vrusso@robbinsfirm.com>; Alexander Denton <Alexander.Denton@robbinsfirm.com>;

kaye. burwell@fultoncountyga.gov; cheryl.ringer@fultoncountyga.gov;
Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 8 of 15

david.lowman@fultoncountyga.gov
Subject: RE: State Defendants' Expedited Document Production

David,

The supplemental production we previously discussed is processing now. It is far smaller (.38 gb instead
of 3.37; 89 files). Our vendor is loading this into your MoFo sharefile link now.

Carey A. Miller | 404.856.3286 |
<image001.jpg>

From: Carey Miller

Sent: Thursday, August 27, 2020 9:46 AM

To: Cross, David D. <DCross@mofo.com>; Bruce Brown <bbrown@brucepbrownlaw.com>

Ce: Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway, Jenna B. <JConaway@mofo.com>;
Miriyala, Arvind S. <AMiriyala@ mofo.com>; ram@lawram.com; cichter@ichterdavis.com; Hedgecock,
Lyle F. <LHedgecock@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>: Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Vincent Russo <vrusso@robbinsfirm.com>; Alexander Denton
<Alexander.Denton@robbinsfirm.com>; kaye.burwell@fultoncountyga.gov;

cheryl. ringer@fultoncountyga.gov; david.lowman@fultoncountyga.gov

Subject: RE: State Defendants' Expedited Document Production

David,

As you know, we provided the dropbox link at 10:14 last night. It was not until 11:45 that | was informed
there was any issue, and 12:33 am when the issue was actually explained. Similarly, your suggested fixes
were also provided in the wee hours of this morning after (sending your file share link at 1:13 and
suggesting we zip and reupload the documents, which again would take hours, at 12:33). Bizarrely, the
requests were made directly to me with no other counsel copied. As you might suspect, at that point
myself, our vendor, and the rest of our team had called it a night. And with any alternative, the upload
time for the files is not instant. To be clear, this is a large production and all of the files are in the link
provided, they are also already split into seven individual folders.

’m sorry that you guys are having difficulty downloading the files, and perhaps downloading the split
folders individually would solve the issue. Our e-discovery vendor is uploading the production into your
MoFo share file (again, due to the size, this will take some time but I’m sure you can see on your end
that it is in progress) and we will also provide an additional link to our vendor portal for you to access
the documents that way. Additionally, if you wish I’m sure we can provide the production by hard drive
to Bruce here locally.

If you feel you need to go to the Court due to lost time reviewing documents between 12:30 am last
night and this morning, that is your prerogative.

Carey A. Miller | 404.856.3286 |
<image001.jpg>

From: Cross, David D. [mailto:DCross@mofo.com]
Sent: Thursday, August 27, 2020 9:16 AM

To: Carey Miller <carey.miller@robbinsfirm.com>; Bruce Brown <bbrown@brucepbrownlaw.com>
Ce: Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway, Jenna B. <JConaway@mofo.com>;
7
Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 9 of 15

Miriyala, Arvind S. <AMiriyala@mofo.com>; ram@lawram.com; cichter@ichterdavis.com; Hedgecock,

Lyle F. <LHedgecock@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Vincent Russo <vrusso@robbinsfirm.com>; Alexander Denton

<Alexander.Denton@robbinsfirm.com>; kaye.burwell@fultoncountyga.gov;

cheryl.ringer@fultoncountyga.gov; david.lowman@fultoncountyga.gov

Subject: RE: State Defendants' Expedited Document Production

 

 

From External Sender

 

Carey - We still can’t download the production. We’ve now lost a lot of time to review what looks to be
tens of thousands of documents. And nobody has responded to our emails. At this point we’ll need to
alert the court that more time likely will be needed for our replies. Respectfully, that will have to come
out of your sur-reply time since we’re not responsible for the delay, unless the court can push back your
sur-reply. In any event, please fix this immediately. We provided last night a simple means of getting us
the documents. You need only upload them with the link we provided.

DC

From: Cross, David D. <DCross@mofo.com>
Date: Thursday, Aug 27, 2020, 12:19 AM
To: Carey Miller <carey.miller@robbinsfirm.com>, Bruce Brown <bbrown@brucepbrownlaw.com>

Cc: Jonathan Crumly <jcrumly@taylorenglish.com>, Conaway, Jenna B. <JConaway@mofo.com>, Miriyala,

Arvind S. <AMiriyala@mofo.com>, ram@lawram.com <ram@lawram.com>, cichter@ichterdavis.com
<cichter@ichterdavis.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Bryan Tyson
<btyson@taylorenglish.com>, Josh Belinfante <Josh.Belinfante@robbinsfirm.com>, Vincent Russo
<vrusso@robbinsfirm.com>, Alexander Denton <Alexander.Denton@rabbinsfirm.com>,

kaye. burwell@fultoncountyga.gov <kaye.burwell@fultoncountyga.gov>, cheryl.ringer@fultoncountyga.gov
<cheryl.ringer@fultoncountyga.gov>, david.lowman@fultoncountyga.gov
<david.lowman@fultoncountyga.gov>

Subject: RE: State Defendants' Expedited Document Production

Where’s the declaration you filed under seal? We don’t seem to have that. You’re not submitting that
only for the Court to review ex parte, are you?

From: Carey Miller <carey.miller@robbinsfirm.com>
Sent: Wednesday, August 26, 2020 9:57 PM
To: Bruce Brown <bbrown@brucepbrownlaw.com>

Cc: Cross, David D. <DCross@mofo.com>; Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway,
Jenna B. <JConaway@mofo.com>; Miriyala, Arvind S. <AMiriyala@mofo.com>; ram@lawram.com;

cichter@ichterdavis.com; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Bryan Tyson
<btyson@taylorenglish.com>; Josh Belinfante <Josh.Belinfante@robbinsfirm.com>; Vincent Russo
<vrusso@robbinsfirm.com>; Alexander Denton <Alexander.Denton@robbinsfirm.com>;

kaye. burwell@fultoncountyga.gov; cheryl.ringer@fultoncountyga.gov;
david.lowman@fultoncountyga.gov

Subject: RE: State Defendants' Expedited Document Production

External Email
Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 10 of 15

 

Thanks, Bruce.

Carey A. Miller |404.856.3286|
<image001.jpg>

From: Bruce Brown [mailto:bbrown@brucepbrownlaw.com]
Sent: Wednesday, August 26, 2020 9:56 PM
To: Carey Miller <carey.miller@robbinsfirm.com>

Cc: Cross, David D. <DCross@mofo.com>; Jonathan Crumly <jcrumly@taylorenglish.com>; Conaway,
Jenna B. <JConaway@mofo.com>; Miriyala, Arvind S. <AMiriyala@mofo.com>; ram@lawram.com:;

cichter@ichterdavis.com; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Bryan Tyson
<btyson@taylorenglish.com>; Josh Belinfante <Josh.Belinfante@robbinsfirm.com>; Vincent Russo
<vrusso@robbinsfirm.com>; Alexander Denton <Alexander.Denton@robbinsfirm.com>;

kaye. burwell@fultoncountyga.gov; cheryl.ringer@fultoncountyga.gov;
david.lowman@fultoncountyga.gov

Subject: Re: State Defendants’ Expedited Document Production

 

From External Sender

 

Carey - that’s fine on bullet two.
On Aug 26, 2020, at 9:01 PM, Carey Miller <carey.miller@robbinsfirm.com> wrote:

Thanks David, and I’m not sure if the September 4 Amended Initial Disclosures item re
joint discovery report was answered earlier, but that date is fine on our end.

Carey A. Miller | 404.856.3286 |
<image001.jpg>

From: Cross, David D. [mailto:DCross@mofo.com]
Sent: Wednesday, August 26, 2020 8:39 PM

To: Jonathan Crumly <jcrumly@taylorenglish.com>
Cc: Carey Miller <carey.miller@robbinsfirm.com>; Conaway, Jenna B.

<JConaway@mofo.com>; Miriyala, Arvind S. <AMiriyala@mofo.com>; Bruce Brown

<bbrown@brucepbrownlaw.com>; ram@lawram.com; cichter@ichterdavis.com;
Hedgecock, Lyle F. <LHedgecock@mofo.com>; Bryan Tyson
<btyson@taylorenglish.com>; Josh Belinfante <Josh.Belinfante@robbinsfirm.com>;
Vincent Russo <vrusso@robbinsfirm.com>; Alexander Denton
<Alexander.Denton@robbinsfirm.com>; kaye. burwell@fultoncountyga.gov;

cheryl. ringer@fultoncountyga.gov; david.lowman@fultoncountyga.gov

Subject: RE: State Defendants' Expedited Document Production

Yes. Sorry. | can’t speak to the second bullet though as that’s not directed at my clients. |
understand Bruce is tied up for a while this evening - FYI.
Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 11 of 15

From: Jonathan Crumly <jcrumly@taylorenglish.com>

Date: Wednesday, Aug 26, 2020, 8:37 PM

To: Cross, David D. <DCross@mofo.com>

Cc: Carey Miller <carey.miller@robbinsfirm.com>, Conaway, Jenna B.

<JConaway@mofo.com>, Miriyala, Arvind S. <AMiriyala@mofo.com>, Bruce Brown

<bbrown@brucepbrownlaw.com>, ram@lawram.com <ram@lawram.com>,
cichter@ichterdavis.com <cichter @ichterdavis.com>, Hedgecock, Lyle F.
<LHedgecock@mofo.com>, Bryan Tyson <btyson@taylorenglish.com>, Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>, Vincent Russo <vrusso@robbinsfirm.com>, Alexander
Denton <Alexander.Denton@robbinsfirm.com>, kaye.burwell@fultoncountyga.gov
<kaye.burwell@fultoncountyga.gov>, cheryl.ringer@fultoncountyga.gov
<cheryl.ringer@fultoncountyga.gov>, david.lowman@fultoncountyga.gov
<david.lowman@fultoncountyga.gov>

Subject: Re: State Defendants' Expedited Document Production

So is that consent to the requested extension?

Jonathan Crumly
Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
P: 678.426.4659 | M: 770.883.6344 | jcrumly@taylorenglish.com

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On Aug 26, 2020, at 8:30 PM, Cross, David D. <DCross@mofo.com>
wrote:

Ok. Thanks.

From: Carey Miller <carey.miller@robbinsfirm.com>

Date: Wednesday, Aug 26, 2020, 8:28 PM

To: Cross, David D. <DCross@mofo.com>, Conaway, Jenna B.
<JConaway@mofo.com>, Miriyala, Arvind S. <AMiriyala@mofo.com>,
"Bruce Brown' <bbrown@brucepbrownlaw.com>, 'ram@lawram.com'
<ram@lawram.com>, 'cichter@ichterdavis.com'
<cichter@ichterdavis.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>

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Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 12 of 15

Cc: Bryan Tyson <btyson@taylorenglish.com>, Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>, Vincent Russo
<vrusso@robbinsfirm.com>, Alexander Denton

<Alexander.Denton@robbinsfirm.com>, Jonathan Crumly
<jcrumly@taylorenglish.com>, 'kaye.burwell@fultoncountyga.gov'
<kaye.burwell@fultoncountyga.gov>, ‘cheryl.ringer@fultoncountyga.gov'
<cheryl.ringer@fultoncountyga.gov>, ‘david.lowman @fultoncountyga.gov'
<david.lowman@fultoncountyga.gov>

Subject: RE: State Defendants' Expedited Document Production

External Email

 

| don’t think there will be any issue getting them out the door to you by
noon. The time comes into play more for the processing/stamping and
then uploading of documents to dropbox, but few enough documents
that | don’t think it would be that slow.

Carey A. Miller | 404.856.3286 |
<image002.jpg>

From: Cross, David D. [mailto:DCross@mofo.com
Sent: Wednesday, August 26, 2020 8:23 PM

To: Carey Miller <carey.miller@robbinsfirm.com>; Conaway, Jenna B.
<JConaway@mofo.com>; Miriyala, Arvind S. <AMiriyala@mofo.com>;
‘Bruce Brown' <bbrown@brucepbrownlaw.com>; 'ram@lawram.com'
<ram@lawram.com>; 'cichter@ichterdavis.com'
<cichter@ichterdavis.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>

Cc: Bryan Tyson <btyson@taylorenglish.com>; Josh Belinfante
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<Alexander.Denton@robbinsfirm.com>; Jonathan Crumly
<jcrumly@taylorenglish.com>; 'kaye.burwell@fultoncountyga.gov'
<kaye.burwell@fultoncountyga.gov>;

‘cheryl. ringer@fultoncountyga.gov'
<cheryl.ringer@fultoncountyga.gov>;
‘david.lowman@fultoncountyga.gov'
<david.lowman@fultoncountyga.gov>

Subject: RE: State Defendants' Expedited Document Production

To the first bullet, do you have an estimated time tomorrow? If it’s the
morning, that’s fine with me. Is that what you have in mind?

From: Carey Miller <carey.miller@robbinsfirm.com>
Date: Wednesday, Aug 26, 2020, 8:00 PM

EE
Case 1:17-cv-02989-AT Document 838-2 Filed 08/31/20 Page 13 of 15

To: Cross, David D. <DCross@mofo.com>, Conaway, Jenna B.
<JConaway@mofo.com>, Miriyala, Arvind S. <AMiriyala@mofo.com>,
‘Bruce Brown' <bbrown@brucepbrownlaw.com>, 'ram@lawram.com'
<ram@lawram.com>, 'cichter@ichterdavis.com'
<cichter@ichterdavis.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>
Cc: Bryan Tyson <btyson@taylorenglish.com>, Josh Belinfante

<Josh.Belinfante@robbinsfirm.com>, Vincent Russo

<vrusso@robbinsfirm.com>, Alexander Denton

<Alexander, Denton@robbinsfirm.com>, Jonathan Crumly

<jcrumly@taylorenglish.com>, 'kaye.burwell@fultoncountyga.gov'

<kaye.burwell@fultoncountyga.gov>, 'cheryl.ringer@fultoncountyga.gov'

<cheryl. ringer @fultoncountyga.gov>, 'david.lowman@fultoncountyga.gov'
<david.lowman@fultoncountyga.gov>

Subject: State Defendants' Expedited Document Production

External Email

 

Counsel,

State Defendants are preparing documents for production this evening
which are in the process of uploading to an ftp to send to you all.
However, we have run into a handful of issues relating to two categories
of documents and wanted to request your consent to a short extension
prior to raising the issue with the Court.

e Plaintiffs’ Joint Request Number 12: State Defendants will be
producing documents to you this evening which are responsive
to this request. However, we ran into a technical issue when
uploading some documents which may be responsive to this
request into our e-discovery platform and thus inadvertently
missed them for review. The documents at issue amount to less
than 2% of the total number of documents we will produce this
evening and we intend to produce those documents to you
tomorrow, August 27, 2020.

e Coalition Plaintiffs’ Request Number 2(b)(i): This request seeks
communications with three (3) specific counties regarding “vote
mark threshold settings.” As we have discussed, the Secretary’s
Office has diverted staff from their work certifying election
results and preparing for recounts, the September Special
Election in CD-5, and the November elections to search for
documents. Additionally, we do understand Plaintiffs may be in
possession of a number of documents responsive to this
request by way of open records requests and/or subpoenas
served on those counties. In any event, we are producing
several documents we believe are responsive to request 2, but
at this juncture have not completed our search for documents
responsive to request 2(b)(i). State Defendants request this
extension through Friday, August 28, 2020.

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Please let us know if you will consent to the aforementioned extension.
Thanks

<image003.jpg>

Carey A. Miller

Counsel

ROBBINS ROSS @ ALLOY @ BELINFANTE @ LITTLEFIELD LLC
500 Fourteenth Street NW

Atlanta, GA 30318

678.701.9381 (Main)

404.856.3286 (Direct)

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